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Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                        Southern District of Texas
                                                                  Houston Division

In re   Jacey Ray Jetton       Fanny Tsui Ling Jetton                              ,
                                                                                                     Case No.
                                                            Debtors                                  Chapter      7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $     0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $     0.00
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $     0.00
 Student Loan Obligations (from Schedule F)                                 $     9,954.72
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $     0.00
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $     0.00
                                                            TOTAL            $    9,954.72
State the following:

 Average Income (from Schedule I, Line 16)                                  $     3,298.05
 Average Expenses (from Schedule J, Line 18)                                $     5,218.74
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $     4,341.13
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State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                        $     9,339.78
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                   $   0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                         $     0.00
 4. Total from Schedule F                                                               $     38,757.54
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                           $     48,097.32
